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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

GRUMPY CAT LIMITED,              )
                                 )
     Plaintiff,                  ) Case No. 23-cv-16328
                                 )
v.                               )
                                 ) Judge Thomas M. Durkin
THE INDIVIDUALS, CORPORATIONS,   )
LIMITED LIABILITY COMPANIES,     )
PARTNERSHIPS AND                 )
UNINCORPORATED ASSOCIATIONS      )
IDENTIFIED ON SCHEDULE A HERETO, )
                                 )
     Defendants.                 )

                                      STATUS REPORT

       Plaintiff’s counsel submits this Status Report, prepared by Plaintiff’s counsel per the
Court’s Minute Order of January 17, 2024. [Dkt. No. 13]. No defendant has filed an
appearance in this matter.

       On November 29, 2023, Plaintiff filed its Complaint alleging, among other claims,
trademark infringement and counterfeiting, 15 U.S.C. § 1114 (Count I); false designation of
origin, 15 U.S.C. § 1125(a) (Count II); Copyright Infringement, 17 U.S.C. § 101 et seq. (Count
III); and violation of Illinois Uniform Deceptive Trade Practices Act, 815 ILCS § 510/1, et. seq.
(Count IV). [Dkt. No. 1]. Concurrently, Plaintiff filed a Motion for Leave to File Under Seal
[Dkt. No. 7] which was granted by this Court on the same day. [Dkt. No. 9].

       Due to a clerical error, Plaintiff did not file an ex parte Motion for a Temporary
Restraining Order, including a Temporary Injunction, a Temporary Asset Restraint, Expedited
Discovery and Service of Process by Email and/or Electronic Publication and supporting
Memorandum and Exhibits.

       Plaintiff is filing its ex parte Motion for a Temporary Restraining Order, including a
Temporary Injunction, a Temporary Asset Restraint, Expedited Discovery and Service of
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Process by Email and/or Electronic Publication and supporting Memorandum and Exhibits
concurrently with this Status Report.

        Undersigned counsel was unable to submit this Status Report yesterday, when due, in
view of a medical issue.



                                        Respectfully submitted,

Dated: February 1, 2024
                                        By:   s/ Michael A. Hierl                  _
                                               Michael A. Hierl (Bar No. 3128021)
                                               William B. Kalbac (Bar No. 6301771)
                                               Robert P. McMurray (Bar No. 6324332)
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                                               GRUMPY CAT LIMITED
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                                 CERTIFICATE OF FILING


       The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Status Report was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on February 1, 2024.



                                                       s/Michael A. Hierl
